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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                     CASE NO. 23-60068-CIV-DIMITROULEAS

  HOWARD COHAN,

         Plaintiff,

  vs.

  NOVA FLL HTEL, LLC,
  Dania Resorts, LLC,
  Doing business as
  Avid Hotels,

        Defendant.
  ___________________________________/

               ORDER APPROVING NOTICE OF VOLUNTARY DISMISSAL

         THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal With

  Prejudice (the “Notice”) [DE 9], filed herein on April 21, 2023. The Court has carefully

  reviewed the Notice and is otherwise fully advised in the premises.

         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1. The Notice [DE 9] is hereby APPROVED;

         2. This case is DISMISSED WITH PREJUDICE; and

         3. The Clerk shall CLOSE this case.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 21st day of April, 2023.




  Copies furnished to:
  Counsel of Record
